Case 3:04-cr-00033-MOC-DCK   Document 89   Filed 06/28/05   Page 1 of 6
Case 3:04-cr-00033-MOC-DCK   Document 89   Filed 06/28/05   Page 2 of 6
Case 3:04-cr-00033-MOC-DCK   Document 89   Filed 06/28/05   Page 3 of 6
Case 3:04-cr-00033-MOC-DCK   Document 89   Filed 06/28/05   Page 4 of 6
Case 3:04-cr-00033-MOC-DCK   Document 89   Filed 06/28/05   Page 5 of 6
Case 3:04-cr-00033-MOC-DCK   Document 89   Filed 06/28/05   Page 6 of 6
